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               7

               8
                                                  UNITED STATES DISTRICT COURT
               9
                                               NORTHERN DISTRICT OF CALIFORNIA
           10
                                                           SAN JOSE DIVISION
           11

           12

           13      APPLE INC., a California corporation,           CASE NO. 12-cv-00630-LHK (PSG)

           14                            Plaintiff,                 DECLARATION OF JASON C. LO IN
                                                                    SUPPORT OF APPLE INC.’S MOTION TO
           15             v.                                        COMPEL DISCOVERY OF DOCUMENTS,
                                                                    INFORMATION, OR OBJECTS FROM
           16      SAMSUNG ELECTRONICS CO., LTD., a                 NON-PARTY GOOGLE, INC.
                   Korean corporation; SAMSUNG
           17      ELECTRONICS AMERICA, INC., a New
                   York corporation; and SAMSUNG
           18      TELECOMMUNICATIONS AMERICA,
                   LLC, a Delaware limited liability company,
           19
                                         Defendants.
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                   LO DECLARATION IN SUPPORT OF APPLE’S MOTION TO COMPEL DISCOVERY OF DOCUMENTS,
                   INFORMATION, OR OBJECTS FROM NON-PARTY GOOGLE, INC.
Gibson, Dunn &
                   12-cv-00630-LHK (PSG)
Crutcher LLP
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               1   I, Jason C. Lo, declare and state as follows:
               2          1.      I am a partner at the law firm of Gibson, Dunn & Crutcher, counsel of record in this
               3   action for Plaintiff Apple Inc. (“Apple”). I am licensed to practice law in the State of California. I
               4   submit this declaration in support of Apple’s Motion to Compel Discovery of Documents,
               5   Information, or Objects from Non-Party Google, Inc. Unless otherwise indicated, I have personal
               6   knowledge of the matters set forth below. If called as a witness, I could and would testify
               7   competently as follows.
               8          2.      Given the relevance of Ice Cream Sandwich to Apple’s motion for preliminary
               9   injunction, Apple immediately sought from Samsung information regarding Galaxy Nexus’
           10      implementation of Ice Cream Sandwich. Attached hereto as Exhibit 1 is a true and correct copy of
           11      the Requests for Production Nos. 9-13 that Apple served on Samsung Electronics Co., Ltd., Samsung
           12      Electronics America, Inc., and Samsung Telecommunications America, LLC (collectively
           13      “Samsung”) on March 6, 2012.
           14             3.      Rather than provide the information, Samsung claimed that only Google knew how the
           15      Galaxy Nexus implemented Ice Cream Sandwich, that it lacked power to obtain such information,
           16      and refused to provide the requested information. Attached to this declaration as Exhibit 2 is a true
           17      and correct copy of the April 3, 2012 Letter from Michael Fazio to Brian Buroker, in which Samsung
           18      states that “the source code for the version of Ice Cream Sandwich used on Galaxy Nexus was written
           19      by Google, not Samsung. Samsung does not have possession of that source code. To Samsung’s
           20      knowledge, the only company in possession of the source code used on Galaxy Nexus is Google.
           21      Google provides Samsung only with the binary object code, which is not readable by humans.
           22      Accordingly, to the extent that each of these requests for production is based upon the flawed premise
           23      that the source code at issue is Samsung’s source code, Samsung cannot produce source code that it
           24      does not have.” (emphasis in original).
           25             4.      After receiving Samsung’s response, Apple promptly served Google with subpoenas
           26      seeking the information that Samsung refused to produce. Attached to this declaration as Exhibit 3 is
           27      a true and correct copy of those subpoenas.
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                   LO DECLARATION IN SUPPORT OF APPLE’S MOTION TO COMPEL DISCOVERY OF DOCUMENTS,
Gibson, Dunn &
                   INFORMATION, OR OBJECTS FROM NON-PARTY GOOGLE, INC.
Crutcher LLP
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               1           5.     Apple received Google’s response to its subpoenas on April 16, 2012. Attached to
               2   this declaration as Exhibit 4 is a true and correct copy of Responses and Objections of Non-Party
               3   Google Inc. to Subpoena to Produce Documents, Information or Objects from Plaintiff Apple Inc.,
               4   dated April 16, 2012
               5           6.     Apple immediately began to meet and confer with Google in an attempt to resolve the
               6   issues outlined in Apple’s Motion to Compel. I conferred telephonically with Google’s counsel
               7   Matthew Warren on April 18, 2012 and again with Heather Martin on April 23, 2012 and April 24,
               8   2012 in an attempt to resolve the discovery disputes outlined in Apple’s Motion to Compel Discovery
               9   of Documents, Information, or Objects From Non-Party Google, Inc. The parties were unable to
           10      come to any resolution.
           11              7.     Attached to this declaration as Exhibit 5 are true and correct copies of the public
           12      versions of the declarations of Google employees Bjorn Bringert, Cary Clark, Jim Miller, and Ken
           13      Wakasa, all of which were filed on April 23, 2012 in support of Samsung’s Opposition to Apple’s
           14      Motion for Preliminary Injunction.
           15              8.     Attached to this declaration as Exhibit 6 is a true and correct copy of Samsung’s
           16      Objections and Responses to Apple’s First Preliminary Injunction Interrogatories, dated March 27,
           17      2012.
           18              9.     Attached to this declaration as Exhibit 7 is a true and correct copy of excerpts of the
           19      Agreed Upon Protective Order Regarding Disclosure and Use of Discovery Materials in Apple v.
           20      Samsung, Case No. 11-cv-1846-LHK (PSG)
           21              10.    Attached to this declaration as Exhibit 8 is a true and correct copy of Samsung’s First
           22      Supplemental Objections and Responses to Apple’s First Preliminary Injunction Interrogatories (No.
           23      10), dated April 18, 2012.
           24              11.    I declare under the penalty of perjury under the laws of the United States of America
           25      that the forgoing is true and correct to the best of my knowledge.
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                   LO DECLARATION IN SUPPORT OF APPLE’S MOTION TO COMPEL DISCOVERY OF DOCUMENTS,
Gibson, Dunn &
                   INFORMATION, OR OBJECTS FROM NON-PARTY GOOGLE, INC.
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               1          Executed on April 24, 2012 in Washington, DC
               2          Dated: April 24, 2012                               By: /s/ Jason C. Lo
                                                                                      Jason C. Lo
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               5
                                                      CERTIFICATE OF SERVICE
               6
                          The undersigned hereby certifies that the foregoing document was filed electronically in
               7
                   compliance with Civil 5 Local Rule 5,4, and will be served on all counsel for Samsung Electronics
               8
                   Co., Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications America, LLC who
               9
                   have consented to electronic service in accordance with Civil Local Rule 5.4 via the Court's ECF
           10
                   system.
           11
                          And counsel listed below was served in the manner so indicated.
           12

           13                              By Electronic Mail
           14
                                           Matthew Warren
           15                              Quinn Emanuel
                                           50 California Street, 22nd Floor
           16                              San Francisco, California 94111
                                           Email: matthewwarren@quinnemanuel.com
           17

           18
                                           By Electronic Mail
           19
                                           Heather H. Martin
           20                              Quinn Emanuel
                                           1299 Pennsylvania Ave. NW, Suite 825
           21
                                           Washington, D.C. 20004
           22                              heathermartin@quinnemanuel.com

           23

           24

           25      Dated: April 24, 2012                                /s/ H. Mark Lyon

           26                                                           H. Mark Lyon

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                   LO DECLARATION IN SUPPORT OF APPLE’S MOTION TO COMPEL DISCOVERY OF DOCUMENTS,
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